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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION


MARC VEASEY, et al.,

                      Plaintiffs,

             v.                                Civil Action No. 2:13-cv-193 (NGR)

RICK PERRY, et al.,

                      Defendants.


UNITED STATES OF AMERICA,

                      Plaintiff,

TEXAS LEAGUE OF YOUNG VOTERS
EDUCATION FUND, et al.,
                                               Civil Action No. 2:13-cv-263 (NGR)
                      Plaintiff-Intervenors,

TEXAS ASSOCIATION OF HISPANIC
COUNTY JUDGES AND COUNTY
COMMISSIONERS, et al.,

                      Plaintiff-Intervenors,

             v.

STATE OF TEXAS, et al.,

                      Defendants.
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TEXAS STATE CONFERENCE OF NAACP
BRANCHES, et al.,

                    Plaintiffs,
                                                      Civil Action No. 2:13-cv-291 (NGR)
             v.

NANDITA BERRY, et al.,

                    Defendants.


BELINDA ORTIZ, et al.,

                    Plaintiffs,

             v.                                       Civil Action No. 2:13-cv-348 (NGR)

STATE OF TEXAS, et al.,

                    Defendants


                          DECLARATION OF YAIR GHITZA

      Pursuant to 28 U.S.C. § 1746, I, Yair Ghitza, make the following declaration:
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Report on Statistical Estimation of the Race of Individual Registered
                           Voters in Texas


1. My name is Yair Ghitza. I am the Chief Scientist at Catalist, LLC, a data services company that
   collects, standardizes, and enhances data from official voter registration databases, as well as other
   commercial, public, and private data sources. I have over 10 years of experience in statistics, political
   science, and computer science in both professional and academic settings. At Catalist, I am mainly
   responsible for constructing and overseeing the construction of thousands of predictive models.
   Usually, these models predict some characteristic, attitude, or likely behavior of the people in the
   database. I have built these types of models for a wide range of topics, from likelihood of voting in a
   particular election, to likelihood of having children in the household, conditional on a wide range of
   other data points. I also lead the research efforts of Catalist, often building new statistical methods to
   deal with different types of data, and developing new methods of leveraging the data to help our
   clients achieve their goals.

2. I successfully defended my doctoral dissertation in March 2014 and will shortly be receiving a PhD
   from Columbia University in Political Science. My dissertation—Applying Large-Scale Data and
   Modern Statistical Methods to Classical Problems in American Politics—was accepted with
   distinction and is currently nominated for the annual Savage Award in Applied Methodology,
   awarded to a dissertation that makes outstanding contributions in the field of applied Bayesian
   statistics. My main areas of expertise are statistical methods and American politics, particularly
   focusing on estimating public opinion. Prior to my time at Columbia, I was a visiting research
   assistant in the Media Lab at MIT, performing core research in artificial intelligence and computer
   vision.

3. My academic work has appeared in journals such as the American Journal of Political Science; The
   Forum; Statistics, Politics, and Policy; and Proceedings of the IEEE International Symposium on
   Wearable Computers. It has also been featured at invited conferences such as the Annual State
   Politics and Policy Conference; the Annual Meeting of the Society for Political Methodology;
   the Annual Meeting of the American Political Science Association; the Annual Conference of the
   Public Choice Society; the Annual Conference of the European Political Science Association; and
   the Mapping Science Committee at the National Academy of Sciences. My C.V. is attached to this
   report.

4. Catalist was compensated at a rate of $5.00 per thousand voters to provide the data regarding Texas
   registered voters discussed in this report—specifically, racial identification estimates along with
   geographic and other data, such as whether this voter is deceased, as discussed in this report. For my
   work in preparing this report and testifying at trial, Catalist is compensated at a rate of $150 per hour.
   I have not previously provided expert testimony in any litigation.

5. Catalist is a data utility that provides services to civic engagement and advocacy organizations as well
   as political campaigns. Catalist compiles, enhances, stores, and updates person-level data for the
   entire U.S. adult population. Additionally, Catalist provides tools, services, analyses, and expertise to
   facilitate planning, analyzing, and executing data-driven voter contact and other civic advocacy
   programs.
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6. Catalist maintains a national database of voting-age persons, the data for which is obtained from
   official voting rolls in all 50 states and the District of Columbia, as well as from national commercial
   consumer databases. Combining these datasets with publicly-available data, such as Census data, and
   private data from our clients and business partners, results in a national database that contains nearly a
   thousand attributes, giving Catalist a rich, national database of civic and commercial behavior that is
   updated state-by-state on an ongoing and periodic basis, with multiple updates of state data occurring
   as frequently as every week. These updates may include new information on individuals’ voter
   registration status, voting history, official political and administrative districts, deceased records,
   household income level, residence changes, and hundreds of other attributes, some of which are
   estimated through statistical models. Catalist then augments its database with a number of modeled
   predictions about each person’s likely civic behavior or preferences on a number of subjects relevant
   to civic participation.

7. For several states such as South Carolina, Louisiana, Florida and North Carolina, data from official
   voter rolls includes information about a voter’s self-reported race, which is collected when the voter
   registers to vote for the first time or updates his/her registration. The Catalist database includes this
   race information from states that collect it from voters. When self-reported race is unavailable,
   Catalist uses statistical estimates based on other attributes to estimate voters’ race.

8. Catalist purchases these estimates from vendors who are experts in creating statistical models
   specifically to predict voter race and ethnicity. In 2009, Catalist conducted an extensive comparison
   of the products offered by several commercial race coding vendors. Catalist measured the accuracy
   and coverage of the various vendors by comparing them against a large sample of self-reported race
   from voter rolls, surveys and other person-level contact programs that Catalist has collected since
   2006.

9. Based on this initial analysis, Catalist selected the data vendor CPM Technologies as the source of
   Catalist’s modeled race data. CPM race coding has since been re-validated regularly by Catalist to
   measure continued race modeling accuracy, again through the use of self-reported race from both
   officially sourced voter files and data from hundreds of polls conducted by Catalist’s clients that
   asked survey respondents a racial demographic question. This allows Catalist to compare CPM’s
   modeled race prediction for an individual with the individual’s own, self-reported racial identity. The
   most recent re-validation is described in paragraph 15.

10. In Catalist’s database, where self-reported race from official voting rolls is available, that self-
    reported race is used. Where race information is not available, Catalist uses CPM Technologies race
    coding algorithms to predict race.

11. CPM's race coding algorithm uses a multi-layered, tree based approach. This means that the
    algorithm looks at combinations of demographic and other information (e.g., first name, location, sex)
    and assigns the most likely race based on those combinations. To find out which were the most likely
    combinations, CPM “trained” the model using data where all the information including race were
    known. CPM “retrains” the statistical model once a year on average with updated data. Each time
    CPM retrains the model, it provides Catalist with a new program to assign the predicted race.

12. Every year, CPM trains the model using census data, voter file data where permissible to be used for
    commercial purposes, and data from various commercial vendors. CPM does external validation on
    the models using self-reported survey responses and self-reported race records from official voter
    databases that does not overlap with the training set of voter file race data, ensuring that the models
    generalize to the full population instead of just the data that was used to build the model. Both tree-
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    based modeling and this method of validation are in line with widely accepted standards and practices
    in predictive modeling and analytics.

13. The CPM algorithm assigns a race to each record along with a “race confidence” value, a measure of
    the accuracy CPM ascribes to a given modeled race value. These race confidence values are
    segmented by CPM Technologies in to the following values, ordered from most confident in the
    appended race to least confident:

    1. Highly Likely
    2. Likely
    3. Possibly

    Catalist records may also carry no race confidence value if the race value is sourced from the voter
    file or records may be labeled with a race confidence value of “Uncoded” if race value was neither
    available from official voting rolls or the CPM Technologies algorithm was unable to assign any
    single race value to the record with sufficient confidence.

14. Catalist has compared the predicted race from the algorithm with the self-reported race from voter
    rolls where that data is available. For records with the highest race confidence scores, Catalist has
    found that the predictions match the voters’ self-reported race with 90% accuracy or greater in most
    cases. This relationship between confidence scores and accuracy is covered more fully in paragraph
    15.

15. Catalist most recently validated CPM race coding results against the self-reported race available on
    certain voter files in early 2014. A topline of that validation is shown in the table below. Here, we
    applied CPM’s race coding technology to database records in nine states that include self-reported
    race on the official voter rolls: Alabama, Florida, Georgia, Kentucky, Louisiana, Mississippi, North
    Carolina, South Carolina, and Tennessee. We compared CPM’s predictions (as seen in each row of
    the table) to self-reported race, among people who did self-report their race, in order to determine
    how accurate CPM’s predictions were.




16. The race data on the Catalist file has been used and relied on in academia regularly. Recent academic
    studies that used Catalist’s race data include the following:

       Mann, Christopher B., and Casey A. Klofstad. "The Role of Call Quality in Voter Mobilization:
        Implications for Electoral Outcomes and Experimental Design." Political Behavior (2010).
       Ansolabehere, Stephen, and Eitan Hersh. "Validation: What Big Data Reveal About Survey
        Misreporting And The Real Electorate." Political Analysis (2012).
       Ansolabehere, Stephen, and Eitan Hersh. "Gender, Race, Age and Voting: A Research Note."
        Politics and Governance (2013).
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       Enos, Ryan D., and Anthony Fowler. "The Effects of Large-Scale Campaigns on Voter Turnout:
        Evidence from 400 Million Voter Contacts." Working Paper (2013).
       Fraga, Bernard L. "Winning the Race, Losing the Base? Demobilization, Competitiveness, and
        Electoral Influence." Working Paper (2013).
       Hersh, Eitan and Clayton Nall. "A Direct-Observation Approach to Identify Small-Area Variation
        in Political Behavior: The Case of Income, Partisanship, and Geography." Working Paper (2013).
       Hersh, Eitan D., and Brian F. Schaffner. "Targeted Campaign Appeals And The Value Of
        Ambiguity." The Journal of Politics (2013).
       Rogers, Todd, and Masahiko Aida. "Vote Self-prediction Hardly Predicts Who Will Vote, And Is
        (Misleadingly) Unbiased." American Politics Research (2014).
       Fraga, Bernard L. "Assessing the Causal Impact of Race-Based Districting on Voter Turnout."
        Working Paper (2014).
       Fraga, Bernard L. "Candidates or Districts? Reevaluating the Role of Race in Voter Turnout."
        Working Paper (2014).
       Ashok, Vivekinan, et al. "Dynamic Voting in a Dynamic Campaign: Three Models of Early
        Voting." Working Paper (2014).

    Some findings from these academic papers that were specific to Catalist race coding include the
    Hersh and Nall (2013) paper, which used Catalist race data to look at differences in regional voting
    based on income. They found the Catalist race data to be an important part of the trends discovered in
    this research. Ansolabehere and Hersh (2012) included a validation of Catalist race data against 2008
    online survey panels that yielded a strong alignment. Hersh and Schaffner (2013) also report
    validation statistics that are in the expected range. As some of these academic papers have discussed,
    Catalist has a vested interest in assuring that the race predictions it maintains in its database and
    provides to clients are as accurate and unbiased as possible.

17. Catalist’s database also indicates whether persons on official voter rolls are believed to be deceased.
    Catalist obtains death information from multiple sources, both official and commercial. Catalist
    subscribes to the Social Security death master file, which is updated monthly, and those updates are
    matched and merged into the Catalist deceased indicator. Catalist also sources deceased information
    from Interactive Marketing Solutions, a company that maintains a Recently Recorded Deceased File
    and a Deceased Do Not Call list. These two files are updated monthly, and those updates are also
    matched and merged in to the Catalist deceased indicator.

18. Furthermore, Catalist’s database indicates whether persons on a state’s official voter rolls have
    submitted a National Change of Address (NCOA) to the United States Postal Service. An NCOA
    submission is an individual indicating to the USPS that they want mail sent to them at an address to
    be forwarded on to a new address. Catalist runs NCOA on its national file on a rolling, state-by-state
    schedule. This schedule is set in such a way that no state goes more than 90 days without being
    submitted for NCOA, processed, and re-released with newly updated NCOA data. Due to restrictions
    in the storage of NCOA data, these official NCOA indicators are dropped off of the database after 18
    months.

19. Catalist’s database also indicates whether persons on a state’s official voter rolls are modeled to be
    “deadwood.” The deadwood indicator identifies records that are probably deceased, no longer at the
    recorded address or otherwise not accurately recorded. The deadwood model uses the deceased and
    NCOA indicators described in the previous sections, in conjunction with other factors such as vote
    history and voter status collected from official voting rolls, to assign a deadwood category to all voter
    records on the Catalist file. This model is applied every time Catalist processes a voter file from a
    secretary of state. The deadwood model can be considered a modeled indicator, estimating the
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    likelihood that the person listed in the record is not a living, eligible voter, who resides in the listed
    address. The deadwood model is not purely cumulative of the deceased and NCOA flags.

20. Counsel for the Department of Justice provided Catalist with a database of Texas registered voters.
    There were 13,564,420 voter records in the file DOJ provided to Catalist.

21. Upon receipt of this file from the Department of Justice, Catalist took the following steps to match
    those records to our database of Texas registered voters: a) standardized the file format using address
    standardization and CASS correction;1 b) removed malformed records;2 c) applied NCOA processes
    as described above; d) geocoded the addresses for mapping to census geography; e) ran gender
    imputation logic where gender was missing on file; f) ran CPM race coding because race is not
    present in the official list of Texas registered voters maintained by the Texas Secretary of State; g)
    appended deceased flags as described above; h) appended official district and jurisdiction data; i)
    scored and appended the deadwood model described above.

22. Catalist provided the Department of Justice with information on those approximately 13.5 million
    Texas registered voters. This dataset included the race coding data and whether any of those voters
    are considered likely to be deceased, deadwood, or have a change of address NCOA flag.

23. 50.20% of the Texas voter records had a confidence level of “highly likely” for the race estimate,
    22.52% were “likely,” 25.08% were “possibly” and 2.20% were uncoded.

24. 323,620 out of the approximately 13.5 million Texas voter records returned were marked by Catalist
    as deceased.

25. Out of the approximately 13.5 million Texas voter records returned, 236,429 were marked by Catalist
    as possible deadwood, 34,435 were marked as probable deadwood, and approximately 13.3 million
    were marked as not deadwood.

26. 882,113 out of the approximately 13.5 million Texas voter records returned were marked by Catalist
    with an NCOA flag.

27. The numbers reported in paragraphs 23 through 26 are not unusual for states in the Catalist database.




1
  CASS is an address certification system offered by the U.S. Postal Service that improves the accuracy of
carrier route, 5-digit ZIP, ZIP + 4, and delivery point codes that appear on mail pieces.
2
  For example, records that were missing first or last name.
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                                                    Yair Ghitza
365 N. Halsted St., Apt 801                                                                                     202-538-0670
Chicago, IL 60661                                                                                         yghitza@gmail.com


EDUCATION Columbia University                                                                        New York, NY
          Ph.D. Forthcoming, Department of Political Science     September 2007 – May 2014 (Defended, not yet Deposited)
          M.S. Political Science, May 2009
          M.Phil. Political Science, December 2010
          − Focus on the study of American elections, specializing in the use of quantitative methods, including
              Statistics, Data Mining, Machine Learning, and Data Visualization.
          − Developed statistical procedure for estimating small population subgroup estimates from national
              polls (Multilevel Regression and Poststratification).
          − Conducted various (published and non-published) other analyses on public opinion and political
              behavior, leveraging survey, demographic, geographic, and large scale voter registration data.
          − Teaching experience in introductory statistics for graduate students.

                  University of Michigan                                                                      Ann Arbor, MI
                  BSE, Computer Science and Engineering, Magna Cum Laude                           September 1999 – April 2003


SELECTED          –   Ghitza, Yair, and Andrew Gelman. 2013. "Deep Interactions with MRP: Election Turnout and
WRITING               Voting Patterns Among Small Electoral Subgroups." American Journal of Political Science 57(3):762-776.
                  −   Erikson, Robert and Yair Ghitza. 2012. "Setting the Agenda Setter." Prepared for 2012 Meeting of
                      the American Political Science Association, New Orleans, LA. August 30-September 2, 2012.
                  −   Ghitza, Yair. “Who’s Going to Vote? Demographic Turnout Forecasting Using Pre-Election Polls.”
                      Working Paper.
                  −   Erikson, Robert, Yair Ghitza, and Christopher Wlezien. 2010. "Differential Campaign Effects in
                      Battleground and Non-Battleground States? An Analysis of Recent Presidential Elections." Presented
                      at the Annual State Politics and Policy Conference, Springfield, Illinois, June 3-5, 2010.
                  −   Gelman, Andrew, Daniel Lee, and Yair Ghitza. 2010. "Public Opinion on Health Care Reform." The
                      Forum 8(1).
                  −   Gelman, Andrew, Daniel Lee, and Yair Ghitza. 2010. "A Snapshot of the 2008 Election." Statistics,
                      Politics, and Policy 1(1).
                  −   Gelman, Andrew, Jonathan P. Kastellec, and Yair Ghitza. 2009. “Beautiful Political Data.” In
                      Beautiful Data: The Stories Behind Elegant Data Solutions. O’Reilly Media.
                  −   Ghitza, Yair, and Todd Rogers. 2009. "Data Driven Politics". In The Change We Need: What Britain
                      Can Learn from Obama's Victory. Ed. Nick Anstead and Will Straw. Fabian Society.
                  −   Roy, Deb, Yair Ghitza, Jeff Bartelma, and Charlie Kehoe. 2004. “Visual Memory Augmentation:
                      Using Eye Gaze as an Attention Filter.” Proceedings of the IEEE International Symposium on
                      Wearable Computers.


SELECTED          Catalist / Copernicus Analytics                                                           Washington, DC
WORK              Senior Scientist / Consultant                                                           August 2004 – Present
HISTORY           – Created and implemented large-scale statistical models and data visualization projects for national
                       and dozens of state and Congressional campaigns.
                  – This “microtargeting” work predicted probability of candidate support, voter turnout, issue support,
                       and financial donation on the individual level for hundreds of millions of registered voters.

                  MIT Media Lab, Cognitive Machines Group                                                Cambridge, MA
                  Visiting Research Assistant                                                        July 2003 – May 2004
                  − Performed core research in artificial intelligence and computer vision.
                  − Designed “attention glasses,” a wearable attention aid that augments visual search capability.
                  − Currently developing an interface that improves communication abilities of paralyzed patients.
